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     January 21, 2022




     VIA ECF
     Hon. James L. Cott
     United States Magistrate Judge
     Daniel Patrick Moynihan
     United States Courthouse
     500 Pearl Street
     New York, New York 10007-1312

              Re:       Calcano v. Timothy Oulton Retail USA Corporation
                        Case No. 21-cv-9401-JLC

     Dear Judge Cott:

             I am counsel for Defendant. I write with the consent of Plaintiff’s counsel to advise that the
     parties have settled this matter in principle and to request that the Court extend the deadline for
     Defendant to respond to the Complaint and any other deadlines sine die. The parties are working on
     the settlement papers now and hope to be in a position to submit a proposed Consent Decree for
     approval within the next 30 days. The Consent Decree would address the ADA access issues raised
     by the Complaint.

              Thank you for your attention to this matter.

                                                                Respectfully,

                                                                Peter T. Shapiro
                                                                Peter T. Shapiro of
                                                                LEWIS BRISBOIS BISGAARD &
                                                                SMITH LLP

     cc:      Counsel for Plaintiff (via ECF)




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